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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

 JELANI MCNEAL,                                    §
                                                   §
                Petitioner,                        §
                                                   §
        v.                                         §         2:19-CV-225-Z-BR
                                                   §
 DIRECTOR,                                         §
 Texas Department of Criminal Justice,             §
 Correctional Institutions Division,               §
                                                   §
                Respondent.                        §

            ORDER WITHDRAWING FINDINGS, CONCLUSIONS, AND
                RECOMMENDATION TO DENY PETITION FOR
         A WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY

       On November 15, 2021, the undersigned United States Magistrate Judge entered findings,

conclusions, and a recommendation to the United States District Judge, recommending Petitioner’s

petition for a writ of habeas corpus be denied. (ECF 22). On November 30, 2021, Respondent filed

objections to the undersigned’s findings, conclusions, and recommendation. (ECF 24). Based on

Respondent’s objections, the undersigned WITHDRAWS the Findings, Conclusions, and

Recommendation (ECF 22). The undersigned will enter amended findings, conclusions, and

recommendation.

       IT IS SO ORDERED.

       ENTERED December 3, 2021.
